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                                                                                                                                                                                                                        UNITED STATES DISTRICT COURT
                                                                                                                                                                                                                        FOR THE DISTRICT OF COLUMBIA
____________________________________
                                    )
UNITED STATES OF AMERICA,           )
                                    )
      v.                            )                                                                                                                                                                                                                         Crim. Action No. 19-0125 (ABJ)
                                    )
GREGORY B. CRAIG,                   )
                                    )
                  Defendant.        )
____________________________________)


                                                                                                                                                                                                                                                    SCHEDULING ORDER

                                                           After considering the matters discussed at the status conference held in this case on April

15, 2019 and the telephonic scheduling conference held on April 17, 2019, it is ORDERED that

the following schedule shall apply:

                                                           April 23, 2019                                                                                                                                      The parties shall submit in writing their positions on the need for an
                                                                                                                                                                                                               order under Local Criminal Rule 57.7(c) and the need for a juror
                                                                                                                                                                                                               questionnaire.1

                                                           April 26, 2019                                                                                                                                      The parties shall provide chambers with copies of the pleadings
                                                                                                                                                                                                               submitted to the Chief Judge in connection with the litigation of the
                                                                                                                                                                                                               attorney-client privilege issue, and defendant must notify the Court
                                                                                                                                                                                                               and the government whether he intends to seek to exclude any
                                                                                                                                                                                                               testimony on that basis.

                                                           May 10, 2019                                                                                                                                        Defendant’s motion to dismiss, see Fed. R. Crim. Proc. 12(B)(A) and
                                                                                                                                                                                                               (B), including any motions concerning defects in the prosecution or
                                                                                                                                                                                                               the indictment, and the government’s notice of its intention to
                                                                                                                                                                                                               introduce evidence under FRE 404(b) are due.

                                                           May 31, 2019                                                                                                                                        The government’s opposition to any motions to dismiss, and
                                                                                                                                                                                                               defendant’s opposition to any 404(b) evidence are due.



	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	   	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  
1       This deadline was established at the April 15, 2019 status conference and set forth in the
minute order entered on that date. If the Court determines upon consideration of the parties’
submissions and the circumstances of this case that a jury questionnaire is appropriate, the Court
will set a schedule for the submission of proposed jury questions.
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       June 7, 2019        Replies in further support of any May 10 motions to dismiss and
                           404(b) notices are due.

       June 10, 2019       Expert witness disclosures are due.

       June 24, 2019       All motions in limine (filed by either side, including any motion to
                           exclude a proposed expert or to exclude testimony on privilege
                           grounds) are due.

       July 10, 2019       A motions hearing on the May 10 dispositive motions and notice
                           concerning Rule 404(b) issues will be held at 10:00 a.m.

       July 11, 2019       Oppositions to the June 24 motions in limine are due.

       July 18, 2019       Replies in further support of the June 24 motions in limine are due.

       July 22, 2019       The parties’ joint pretrial statement is due.

       July 24, 2019       The parties shall deliver paper and electronic copies of exhibits to
                           chambers and to the deputy clerk in the formats specified below.

       August 5, 2019      The Court will hold the pretrial conference at 10:00 a.m.

       August 12, 2019 Trial will commence at 9:30 a.m.

       Given this compressed schedule, which the parties have considered and requested, the

Court will not be inclined to grant any motions to extend the deadlines set forth above absent

exigent circumstances. Any motion for extension must be filed at least two business days before

the date to be extended.

       All pleadings must conform to the requirements concerning formatting and fonts set forth

in Local Civil Rule 5.1(d).

                              JOINT PRETRIAL STATEMENT

       The Joint Pretrial Statement must include:

       a)      a concise joint statement of the case for the Court to read to prospective jurors;

       b)      an estimate of the number of days the trial is anticipated to last;

       c)      a list of all outstanding motions in limine;



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       d)      proposed voir dire questions (which must be in the form of yes or no questions
               in accordance with the attached description of the Court’s Criminal Voir Dire
               Procedure) that indicate:

               i.     the voir dire questions on which the parties agree; and

               ii.    the voir dire questions on which the parties disagree, with specific
                      objections noted below each disputed question and supporting legal
                      authority (if any);

       e)      proposed jury instructions that indicate:

               i.     the instructions on which the parties agree; and

               ii.    the instructions on which the parties disagree, with specific objections
                      noted below each disputed instruction and supporting legal authority.

               iii.    Any agreed or proposed instructions contained in the Standardized
                      Criminal Jury Instructions for the District of Columbia must not be
                      separately provided but should be identified by number. Any other
                      proposed instructions must be provided to the Court in their entirety and
                      should be formatted so that each individual jury instruction begins on a
                      new page, with the source and supporting authority noted at the bottom of
                      the page, followed by any objections and the grounds therefor.

       f)      a list of expert witnesses, if any, accompanied by a brief description of each
               witness’s area of expertise and expected testimony, followed by specific
               objections (if any) to each witness;

       g)      a list of prior convictions, if any, that the government intends to use for
               impeachment or any other purpose, followed by any specific objections to that
               use;

       h)      a list of exhibits that each party intends to offer during trial that identifies each
               exhibit by number and specifies those exhibits to which there is an objection,
               and the basis for the objection, e.g., “hearsay,” or “F.R.E. 403,” without further
               argument;

                      Exhibits will be presumed authentic unless an objection to their
                      authenticity is noted on the Joint Pretrial Statement. The exhibit list shall
                      be a separate attachment to the Joint Pretrial Statement.

       i)      any stipulations, signed by counsel and the defendant;

       j)      a list of any matters of which the parties seek the Court to take judicial
               notice, along with the proposed language; and

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       k)      a proposed verdict form, as well as proposed special interrogatories (if any), that
               includes a date and signature line for the jury foreperson. The verdict form should
               also be a separate attachment to the Joint Pretrial Statement.

                                           EXHIBITS

       Counsel for each party shall deliver to chambers copies of all exhibits the party will seek

to introduce – pre-marked with their exhibit numbers – in electronic form on a thumb drive (or

multiple thumb drives) and in a binder (or set of binders). For the electronic copies, each exhibit

should be saved as a separate PDF labeled by exhibit number and short description (for example:

Def.’s Ex. 27, Email of 11/28/2006). For the paper copies, exhibits within binders must be

divided by numbered tabs, with a table of contents for each binder. Binders may not be larger

than three inches, and each must be labeled on both the front and the spine of the binder, with the

name of the party, volume number, and the numbers of the exhibits found inside (for example:

Defendant’s Exhibits Vol. II, Exs. 28–52). Counsel shall also deliver a second copy of the

thumb drives to the deputy clerk.

       SO ORDERED.




                                             AMY BERMAN JACKSON
                                             United States District Judge

DATE: April 19, 2019




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                                     Criminal Voir Dire Procedure

       •   The Court will read all of the voir dire questions and potential jurors will record the
           numbers of any questions to which they have answers on notecards provided by the
           Court.

       •   Jurors will all be moved and those who have indicated that they have answers will then
           provide their answers on a confidential, individual basis from the witness stand. The
           Court will ask follow up questions and provide counsel with an opportunity to propose
           reasonable additional follow up.

       •   Once at least thirty-two jurors have been qualified, all other jurors will be excused. Jurors
           struck for cause will be excused at that time.

       •   The qualified jurors will be seated in the well of the courtroom in order of their juror
           numbers and will remain there throughout the process.

       •   The parties may use their strikes on any of the qualified jurors, not just the first twelve.
           The parties will alternate, and since the government is entitled to six strikes and
           defendant is entitled to ten, the striking will proceed as follows:

                  For the first four rounds, the government may strike one juror, and the defendant
                  may strike two;
                  For rounds five and six, the government and the defendant may each exercise one
                  strike.

       •   If one party passes – that is, chooses not to strike any of the qualified jurors seated in the
           courtroom – that party has signaled that it is satisfied with the entire panel, and it may not
           resume striking even if the other party has not yet exhausted its strikes.

       •   If both parties pass in the same round, the process of selecting the 12 jurors will be over.

       •   Once both parties have passed or exhausted their strikes, the first twelve jurors remaining
           will be designated as the jury of twelve. The jurors in positions thirteen and fourteen will
           be designated – to counsel and the Court -- as the alternates.

       •   The parties may then each exercise one strike for the alternates, with the government
           striking first.

       •   Any Batson challenges that have not been previously raised should be raised at this time.

       •   Once all process has been completed, the Court will seat the first fourteen qualified
           jurors. The identity of the alternates will not be disclosed to the jurors.




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